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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION



VEROBLUE FARMS USA, INC.,

          Plaintiff,                   Case No. 3:19-cv-00764-X

     v.

LESLIE A. WULF, BRUCE A. HALL,
JAMES REA, JOHN E. REA, KEITH
DRIVER, CANACCORD GENUITY LLC,
CHRISTINE GAGNE, and SEAN MANIACI,

          Defendants.




           REPLY MEMORANDUM IN SUPPORT OF CANACCORD
               GENUITY LLC’S MOTION TO DISMISS THE
                   SECOND AMENDED COMPLAINT
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                                 PRELIMINARY STATEMENT

          VBF’s opposition (“Opposition” or “Opp.”) confirms that Canaccord must be dismissed

from this action.1 VBF broadly claims that Canaccord “conspired with the founders to create

investor-related and other materials packed with material misrepresentations” and certain of those

misrepresentations “were relied upon in the course of VBF’s business, by its employees, potential

and future VBF investors, and future VBF board members.” Opp. at 1. But neither VBF’s prolix

Complaint nor its 29-page Opposition actually identifies a single person that detrimentally relied

on these supposed misrepresentations or explains how that reliance resulted in $90 million in

damages to VBF. These gaping holes in VBF’s allegations alone require dismissal. Further, VBF’s

theory collapses on close inspection: VBF claims that it was defrauded by statements concocted

by its own officers and directors; but those officers and directors were VBF and VBF does not

identify anyone else at the company that was misled. In addition, the Complaint makes clear that

Canaccord was also misled by the Founders; Canaccord cannot be liable to VBF for reasonably

relying on information provided by VBF in performing honest investment banking services.

          VBF’s Opposition also confirms that this Court should enforce the clear, unambiguous

language of the Mutual Release, which bars all of VBF’s claims. VBF does not challenge the

authenticity of the Mutual Release; it simply asks this Court to ignore its plain terms. Indeed, VBF

goes so far as to casually suggest—without any support whatsoever—that the Mutual Release was

procured through fraud. This Court should reject VBF’s request: the contractual relationship

between the parties is at the center of VBF’s allegations and claims against Canaccord, and the

Mutual Release explicitly extinguished all claims that arise out of that relationship. Further, this

Court should not tolerate VBF’s unpled, bald accusation of fraudulent inducement.



1
    Unless noted, capitalized terms have the same meanings as in Canaccord’s opening brief (“Br.”).
                                                  1
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        Finally, VBF’s Opposition fails to adequately contest that (1) this Court lacks personal

jurisdiction over Canaccord, (2) the Engagement Agreement bars VBF’s claims, and (3) this Court

is an improper venue for VBF’s claims. For these reasons and those discussed below and in

Canaccord’s opening brief, the claims against Canaccord must be dismissed with prejudice.

                                          ARGUMENT

I.      This Court Lacks Personal Jurisdiction Over Canaccord.

        General Jurisdiction: VBF does not dispute that it cannot meet the strict standard for

general jurisdiction over a company outlined by the Supreme Court in Daimler AG v. Bauman,

571 U.S. 117 (2014). See Br. at 11-12; Opp. at 5-7. And for good reason. VBF’s complaint alleged

that Canaccord is a Delaware LLC with “roots as a firm” in Canada. See Br. at 11-12. In its

Opposition, VBF attaches various documents showing that Canaccord is a Delaware LLC, its

“principal office” is located in New York, and its management (President, CFO, COO, Director,

and secretaries) are located in New York, Boston, and Canada. ECF No. 246-1 at 6-10, 83-87.

Faced with this dearth of Texas ties, VBF responds only that Canaccord has an office in Texas and

is registered to do business in Texas. Opp. at 6. Even accepting those claims as true, that is simply

not enough for a prima facie showing of general jurisdiction. See Br. at 11-12.2

        Instead of dealing with Daimler, VBF attempts to invent a distinction between corporations

and LLCs for personal jurisdiction purposes. See Opp. at 5-7. That attempt fails.3 First, courts in


2
  See New World Int’l, Inc. v. Ford Glob. Techs., LLC, 2016 WL 1069675, at *3 (N.D. Tex. Mar.
16, 2016) (finding no jurisdiction over an LLC, noting that the Supreme Court rejected general
jurisdiction over Daimler “even though it had ‘multiple offices, continuous operations, and billions
of dollars’ worth of sales’” in the forum, and explaining that “[t]he Supreme Court rejected the
notion that a nonresident defendant is subject to general jurisdiction ‘in every State in which [the
defendant] engages in a substantial, continuous, and systematic course of business.’” (quoting
Daimler, 571 U.S. at 137-38)).
3
  Indeed, many courts have explicitly rejected this exact argument. See, e.g., Stubbs v. REV Grp.,
Inc., 2018 WL 6504396, at *2 (N.D. Ala. Dec. 11, 2018); In re Packaged Seafood Prod. Antitrust

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this circuit regularly apply the strict Daimler standard for general jurisdiction to LLCs.4 Second,

VBF (tellingly) does not cite a single case finding general jurisdiction over an LLC under these or

similar circumstances. Third, the two cases VBF cites for its argument are inapposite.5

       Specific Jurisdiction: The Complaint alleges that Canaccord (a Delaware company with

“roots” in Canada) was retained to perform investment banking services for “VeroBlue Canada”

and that Canaccord somehow injured VBF (a Nevada corporation with its principal place of

business in Iowa) by making misrepresentations to unnamed third parties, potential investors, and

disinterested directors (whose identity and location is not disclosed) during the course of its work.

Br. at 12. VBF does not (and cannot) contest this characterization of the case.6 In its Opposition,

VBF also effectively concedes that the Complaint does not allege Canaccord made

misrepresentations (1) through personnel working or located in Texas, (2) to anyone located in

Texas (other than alleged co-conspirators), or (3) that caused any harm in Texas. See Opp. at 7-



Litig., 338 F. Supp. 3d 1118, 1139 n.14 (S.D. Cal. 2018); Griggs v. Swift Transp. Co., 2018 WL
3966304, at *2 & n.26 (D.N.J. Aug. 17, 2018); Klausmair Constr., LLC v. Gladden Farm, LLC,
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4
  See, e.g., Casanola v. Delta Mach. & Ironworks LLC, 2019 WL 2076190, at *2 & n.27 (E.D. La.
May 10, 2019); Green Ice Tech., LLC v. Ice Cold 2, LLC, 2018 WL 3656476, at *5-6 (E.D. Tex.
Aug. 1, 2018); New World, 2016 WL 1069675 at *3.
5
  Carruth v. Michot, 2015 WL 6506550 (W.D. Tex. Oct. 26, 2015) and King v. Hawgwild Air,
LLC, 2008 WL 2620099 (N.D. Tex. June 27, 2008) never mention a distinction between LLCs and
corporations for purposes of determining general personal jurisdiction, never distinguish Daimler,
and both reject an attempt to use a more expansive approach for general jurisdiction over LLCs.
VBF also states that King “appl[ies] a different test than the corporate test” announced in Daimler.
Opp. at 7. To the extent that statement is true, it is not surprising: King was decided before Daimler.
6
  VBF states only that Canaccord provided services for VBF and describes VBF as “an American
company, with a Texas office.” Opp. at 7. This statement is missing a key detail: VBF is a Nevada
or Iowa company. (SAC ¶ 4.) Contracting with an Iowa or Nevada company obviously does not
expose a party to personal jurisdiction in every state in which that company has an office; VBF’s
suggestion to the contrary is specious.

                                                  3
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10. Those concessions should be dispositive of this issue in Canaccord’s favor. See Br. at 12-14.

          VBF principally argues in response that Canaccord’s communications with several of its

alleged co-conspirators, some of whom were domiciled in Texas, is sufficient to support personal

jurisdiction. Opp. at 8-10.7 VBF is mistaken. In all of the cases cited by VBF, see Opp. at 9-10,

the communications directed at Texas were sufficient to support personal jurisdiction because “the

actual content of communications with [the] forum [gave] rise to intentional tort causes of action.”

Wien Air Alaska, Inc. v. Brandt, 195 F.3d 208, 213 (5th Cir. 1999); FCA Invs. Co. v. Baycorp

Holdings, Ltd., 48 F. App’x 480 (5th Cir. 2002) (misrepresentations made to plaintiff, a Texas

resident, in Texas to induce investment in a company); Middlebrook v. Anderson, 2005 WL

350578, at *4 (N.D. Tex. Feb. 11, 2005) (defendant sent emails into Texas that were the subject

of the defamation claim that was the basis of the lawsuit).

          That is not the case here. Rather, VBF claims that Canaccord’s communications directed

toward Texas were exclusively to its alleged co-conspirators. See Opp. at 8 (identifying only

communications between Canaccord and the Founders as the basis for specific jurisdiction).

Obviously, VBF does not claim that Canaccord defrauded the Founders—its alleged co-

conspirators—through these communications directed at Texas. “These communications to

Texas,” therefore, “rested on nothing but the ‘mere fortuity’” that some of Canaccord’s alleged

co-conspirators happen to be residents of Texas. Holt Oil & Gas Corp. v. Harvey, 801 F.2d 773,

778 (5th Cir. 1986) (finding no specific jurisdiction in Texas where the defendant entered into a

contract with a Texas corporation, sent a written agreement and three checks to Texas, and engaged




7
    An alleged co-conspirator’s domicile is irrelevant to the personal jurisdiction analysis. Br. at 13.

                                                    4
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in extensive telephonic and written communication with a Texas resident).8 Thus, VBF failed to

make a prima facie showing of specific jurisdiction over Canaccord. See Br. at 12-14.9

       Jurisdictional Discovery: This Court should reject VBF’s request for jurisdictional

discovery. See Opp. at 11. Many of its requests are based on its incorrect, overly-expansive view

of general jurisdiction.10 As to discovery relating to specific jurisdiction, VBF clearly has access

to all of the documents relating to its dealings with Canaccord—indeed, it attached 157 pages to

its Opposition and 60 exhibits to its Complaint, constituting hundreds of pages of documents,

letters, and emails. In addition, as other parties have already pointed out, this case has been pending

for over 18 months and thousands of documents have been produced. VBF has also already taken

three depositions, including of Clive Ginsburg, a former Canaccord employee that VBF alleges is

at the center of this controversy. (See SAC ¶¶ 65-88.) Enough is enough.

II.    VBF’s Claims Are Barred By The Engagement Agreement And The Mutual Release.

       VBF does not dispute that it was a subsidiary and affiliate of VeroBlue Farms, Inc. covered

by the Engagement Letter and Mutual Release. See Br. at 16-17; Opp. at 12-17. VBF instead makes

the following five arguments for disregarding the clear, unambiguous language of the two



8
   See also Hatzenbuehler v. Essig, 526 S.W.3d 657, 664 (Tex. App. 2017) (“Evidence that the
defendant had Texas communications in planning to commit a tort . . . is in itself insufficient to
support specific jurisdiction.”); Evans v. Sweetser, 110 F.3d 794 (5th Cir. 1997) (letters and phone
calls directed at Texas insufficient to support specific jurisdiction).
9
   Exercising personal jurisdiction over Canaccord would also violate due process requirements
because the assertion of jurisdiction would offend traditional notions of fair play and substantial
justice. See Br. at 14 n.8. Among other things, it would place a heavy burden on Canaccord (a
Delaware LLC with a principal office in New York) to litigate in Texas, while Texas has little to
no interest in serving as a forum for this litigation (for example, VBF is not a Texas company).
10
    Indeed, in support of these requests, VBF continues to cite pre-Daimler decisions. See Opp. at
11 (citing Middlebrook v. Anderson, 2005 WL 350578 (N.D. Tex. Feb. 11, 2005)). Even VBF’s
request for discovery concerning Canaccord’s principal place of business is unnecessary: that
information is already disclosed in the documents attached to VBF’s Opposition. See ECF No.
246-1 at 6-10 (listing Canaccord’s address and the location of its COO and President in New York),
83-87 (noting Canaccord’s “principal office” is located at the same New York location).
                                                  5
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agreements, all of which fail.

       First, VBF argues that this Court cannot consider the Engagement Agreement or Mutual

Release at this stage of the litigation. Opp. at 12-13. VBF is mistaken. The Complaint explicitly

describes VBF’s engagement of Canaccord in 2015, the services Canaccord provided under the

engagement, and the termination of the engagement in early 2016. (See, e.g., SAC ¶¶ 65-72.) The

engagement of Canaccord and the services Canaccord provided under that engagement, described

in the Complaint as the “Canaccord Project,” are the sole basis for all of VBF’s claims. (See, e.g.,

id.) In its Opposition, VBF also cites the Engagement Agreement multiple times as a basis for

jurisdiction, see Opp. at 7-9, attaches documents that explicitly discuss the Engagement Agreement

and its terms, see Opp. at 8, Exhibits B-3 & B-4, and those same documents constitute settlement

negotiations that led to the Mutual Release. The Complaint may not have used the words

“Engagement Agreement” and “Mutual Release” (instead, using phrases like “Canaccord

Project”), but those documents were certainly incorporated by reference in the Complaint, and the

contracts are central to VBF’s claims. See Br. at 5 n.2; In re Enron Corp. Sec., Derivative &

“Erisa” Litig., 2003 WL 23316646, at *5 (S.D. Tex. Mar. 27, 2003) (Courts may “consider in a

Rule 12(b)(6) review not only documents named in Plaintiffs’ complaint, but even documents that,

if not named, are ‘pertinent,’ ‘central’ or ‘integral to [Plaintiffs’] claim.’” (collecting cases)). The

Court may, therefore, consider the Engagement Agreement and Mutual Release.

       Second, VBF argues that the Mutual Release does not cover VBF’s claims against

Canaccord. Opp. at 16-17. Specifically, VBF asserts that “the terms of the Mutual Release were

clearly intended to cover only the dispute of whether VBF owed Canaccord any money for its

services,” which the Mutual Release itself defines as the “Dispute.” Opp. at 16. But VBF ignores

the clear language of the Mutual Release. The Mutual Release covers claims “based upon, relating



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to or arising out of the Engagement Agreement, the Dispute (including any efforts to resolve the

Dispute), the Transaction, the engagement of Canaccord to provide services to [VBF] and its

subsidiaries, and/or the services that Canaccord provided to [VBF] and its subsidiaries.” (See

Mutual Release at APP0016 (emphasis added).) The clear language of the Mutual Release is,

therefore, not limited to claims relating to the “Dispute,” as VBF contends; it extends to the entire

“Canaccord Project,” including the services that Canaccord provided under the Engagement

Agreement. Because VBF’s claims against Canaccord all arise out of the “Canaccord Project,”

they must be dismissed under the plain terms of the Mutual Release. See Br. at 15-17.11

       Third, VBF suggests for the first time and without any support that the Mutual Release

may have been procured through fraud. Opp. at 17.12 This argument is frivolous. VBF does not

(and cannot) claim that it did not know about the Mutual Release before filing its Complaint. See,

e.g., Br. at 17 n.12 (explaining that Canaccord affirmatively raised the Mutual Release with VBF

in a related proceeding on August 9, 2019). And, yet, the Complaint nowhere alleges that the

Mutual Release was obtained by fraud. That omission is particularly striking because VBF

challenges the validity of releases entered into with several of the individual defendants, but did

not challenge the release of Canaccord. (See SAC ¶¶ 309-22, 328-52.) This Court should not

countenance such casual, bald accusations of fraud.13



11
   The cases cited by VBF stand for the proposition that “general words of a release are limited by
the recital of a particular claim, where there is nothing on the face of the instrument, other than
general words of release, indicating that matters other than those specifically referred to were
intended to be discharged.” Green v. Lake Placid 1980 Olympic Games, Inc., 147 A.D.2d 860, 862
(3d Dep’t 1989). But those cases support Canaccord’s position: as explained above, the Mutual
Release explicitly lists matters other than the “Dispute” and covers the claims raised by VBF.
12
   VBF does not otherwise challenge the enforceability or authenticity of the Mutual Release.
13
   Notably, VBF attaches to its Opposition letters from VBF’s and Canaccord’s counsel leading
up to the Mutual Release. ECF No. 246-1 at 100-09. Those letters show that both parties were
represented by able counsel and that the Mutual Release was the product of a genuine dispute.

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        Fourth, VBF asserts that the Mutual Release terminated the Engagement Agreement. Opp.

at 13-14. Canaccord agrees that the Mutual Release is valid and enforceable, was intended to end

the parties’ relationship and resolve all related controversies, and, therefore, rendered the

Engagement Agreement null and void (with the exception of the indemnity and forum selection

provisions) going forward. Indeed, finding that the Mutual Release is valid and enforceable decides

this case and requires dismissal of Canaccord. See Br. at 15-17.14 Regardless, as explained below,

the Engagement Agreement governed the relationship between VBF and Canaccord before the

Mutual Release was executed, and Canaccord had the right under the Engagement Agreement’s

express terms during that time to rely on information provided by VBF.

        Fifth, VBF argues that the Engagement Agreement’s exculpatory clauses do not cover

intentional torts. Opp. at 14-15. This argument misses the point. VBF claims that VBF itself

provided Canaccord with false and misleading information during the course of the Canaccord

Project, which Canaccord then transmitted to certain unnamed parties. See Br. at 6. Other than

resorting to bare labels and conclusions, VBF never alleges that Canaccord knew this information

was false or misleading. See Br. at 4-8, 16, 19 & n. 14. VBF is now attempting to blame Canaccord

for the dissemination of VBF’s own misrepresentations. But the Engagement Agreement’s

provisions, which are typical for investment banking services, protect Canaccord from that type of

claim. Br. at 4-5, 15-17. The Engagement Agreement, therefore, properly exculpates Canaccord

from liability in this case. See Br. at 15-17.15



14
   Of course, VBF cannot have it both ways: it cannot argue that the Mutual Release is valid and
enforceable, thus negating the Engagement Agreement, and also maintain that the Mutual Release
is not enforceable. It is an either/or proposition.
15
   For example, VBF alleges that Mr. Wulf lied to Canaccord about stocking density metrics. (See,
e.g., SAC ¶¶ 119, 136.) According to VBF’s own allegations, Canaccord had no way of
determining that those figures were false or misleading. (See, e.g., SAC ¶ 142 (Mr. Wulf falsified

                                                   8
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III.   The Complaint Fails To State A Claim Upon Which Relief Can Be Granted.

       Conspiracy (Count XX): The Opposition fails to address the many flaws with this claim

identified in Canaccord’s opening brief.16 First, Canaccord explained that VBF failed to allege

that anyone relied on Canaccord’s alleged misstatements, that Canaccord obtained anything as a

result of its supposed misconduct, and how VBF was injured as a proximate result of Canaccord’s

supposed misconduct. Br. at 22-23. VBF does not meaningfully address these arguments,

confirming that it cannot (1) identify a single individual that relied on Canaccord’s supposed

misrepresentations, (2) identify any investment secured by Canaccord, and (3) explain how

Canaccord’s alleged misrepresentations resulted in $90 million in damages. Indeed, VBF attaches

to its own Opposition a letter from its own counsel, which states that Canaccord raised “$0” for

VBF and VBF itself negotiated terms with a lender “without any assistance from Canaccord.” ECF

No. 246-1 at 108-09. These concessions alone require dismissal of Canaccord from this action.

       Second, Canaccord carefully parsed through each of the supposed misrepresentations in

the Complaint and explained why they each failed to plead fraud with particularity under Rule

9(b). See Br. at 21-22, Ex. C. In response, VBF fails to provide one clear example for the Court

that includes the basic details of a fraud claim: (1) person A, (2) told person B, (3)

misrepresentation C, (4) on D date, (5) in E manner, (6) person B relied on that statement by doing




or removed density and mortality metrics on fish tanks when people visited VBF’s facilities).)
Under the terms of the Engagement Agreement, Canaccord reasonably relied on those
representations.
16
   VBF begins its response on this issue by attempting to incorporate over 20 pages of arguments
from its other briefs in this action. See Opp. at 19 (citing ECF No. 217 at 7-21 & ECF No. 18 at 9-
16). The Court should disregard those citations. See Impala African Safaris, LLC v. Dall. Safari
Club, Inc., 2014 WL 4555659, at *2 (N.D. Tex. Sept. 9, 2014). Indeed, VBF has previously moved
to strike other parties’ briefs for employing the same tactic. See ECF No. 215.

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F, and (7) VBF was harmed as a result.17 VBF includes only the following incomplete responses:

•      “The 29 page summary chart, which cites to at least 65 different SAC paragraphs, actually

highlights that VBF has pled sufficient facts to state a claim. One misrepresentation is sufficient

to state a claim—and by Canaccord’s implicit admission, VBF alleged at least 65.” Opp. at 19.

VBF is confusing volume with substance. The Summary Chart does not represent an “implicit

admission” that VBF sufficiently alleged 65 actionable misstatements; rather, it identifies multiple

Rule 9(b) pleading deficiencies with each of the supposed misstatements alleged in the Complaint.

•      “[I]tems numbered 3 through 19 in the Canaccord Summary Chart represent numerous

examples of when the Founders represented that VBF’s FCR was 1:1 and items numbered 11 and

14-17 are examples of Canaccord’s involvement in those representations.” Opp. at 19. But the

Summary Chart shows that these allegations suffer from multiple Rule 9(b) defects, including the

following: to whom (outside of the supposed conspiracy) the misstatement was made (Summary

Chart items 3-19); who made the misrepresentation to that person (Summary Chart items 3, 5-9,

12, 15, 18-19); when the statement was made to that person (Summary Chart items 3-12, 15, 18,

19); how was the statement made to that person (Summary Chart items 3-12, 15, 19); how did that

person rely on the statement (Summary Chart items 3-19); and how was VBF injured as a result

(Summary Chart items 3-19).18 VBF’s Opposition does not address any of these problems.

•      “Almost every paragraph also cites to an exhibit, including SAC Exhibits 4 and 7-22 . . . ,


17
   VBF’s strategy is a classic example of impermissible “puzzle pleading.” See In re Alamosa
Holdings, Inc., 382 F. Supp. 2d 832, 857-58 (N.D. Tex. 2005). Instead of clearly laying out the
elements of its fraud claim, it cites to large groups of allegations and exhibits and then leaves it to
the defendants and the Court to try to piece together which claims are actionable, who they are
actionable against, and why. For example, VBF defends its Complaint by arguing that “it is not
required that each paragraph of VBF’s SAC meet the standards of Rule 9(b) because not each
paragraph is a stand-alone representation” and “[c]ollectively, VBF’s extensive allegations meet
the Rule 9(b) standard.” Opp. at 19.
18
   VBF also never defends its reliance on “information and belief” pleading. See Br. at 22 n.16.
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which are documents containing the representations. In many instances, those exhibits show who

received (or would receive) that information. SAC, Exs. 14, 16, 19, 20, 23.” Opp. at 19. But the

identified exhibits are communications among the alleged co-conspirators (see SAC, Exs. 16-1,

19, 20, 23) or did not include Canaccord (see SAC, Exs. 14, 16-2). Further, none of these examples

provide all of the required elements of a fraud claim—among other things, they do not show

detrimental reliance by a recipient of the alleged misrepresentation or how VBF was injured as a

result of that reliance. See Br. at 21-22.

•       “[T]he Canaccord Summary Chart includes allegations where VBF presented its real

Metrics to explain how the Founders and Canaccord’s representations were false or where the

Founders (and sometimes Canaccord) schemed to misrepresent data, and argues that VBF must

meet the 9(b) requirements as to those allegations. Canaccord Summary Chart, No. 3, 20-22, 26,

31, 37, 43, 44, 47, 57. Obviously, VBF has no need to do so.” Opp. at 19-20. This is simply a

concession that these entries do not allege any actionable misrepresentation or omission.

•       “[T]he Canaccord Summary Chart represents that the Founders were the only parties

involved in the misrepresentations contained in SAC paragraphs 108, 109, and 119-120 and

conveniently omits that those paragraphs reference SAC Exhibits 19, 20 and 23. Canaccord

Summary Chart, No. 16, 17, 25-26.” Opp. at 20.19 VBF goes on to argue that certain allegations in

the Complaint show that Canaccord was involved in these supposed misrepresentations. Opp. at

20. This limited argument does not save VBF’s claims. Even assuming Canaccord was involved

in these alleged misrepresentations (it was not), VBF itself explains why they are not actionable:

VBF states that, at most, the Complaint suggests that the “the Founders intended Canaccord to




19
  Contrary to VBF’s assertion, the Summary Chart takes into account the exhibits referenced in
each of the paragraphs analyzed in the Summary Chart.
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disseminate the written representations to potential investor pools.” Opp. at 20 (emphasis added).

This speculative statement and the related allegations are insufficient to meet Rule 9(b): (1) VBF

never identifies the who, what, when, where, and how details of any actual misrepresentation to a

potential investor; (2) VBF never claims that any such investor relied on these supposed

misrepresentations; and (3) VBF never explains why it should be permitted to recover for a third-

party investor that allegedly received misrepresentations. See Br. at 21-22 & n.17.20

       Third, VBF fails to show that Canaccord had a “meeting of the minds” with its supposed

co-conspirators. See Br. at 19-20. Stripped of VBF’s unsupported innuendo and naked legal

conclusions, the most plausible inference from the allegations in the Complaint is that Canaccord

agreed to provide honest investment banking services for VBF and carried out its work in good

faith. See Br. at 19. In its Opposition, VBF does not dispute that Canaccord did not behave like a

member of the claimed conspiracy. For example, VBF concedes that the claimed conspiracy began

long before the “Canaccord Project” started and continued after the “Canaccord Project” ended.

Br. at 20; Opp. at 25. Canaccord also repeatedly threatened to sue VBF, which is clearly not the

conduct of a conspirator seeking to conceal its wrongdoing. See Br. at 20. VBF does not provide

any serious explanation for why Mr. Wulf repeatedly lied to Canaccord, often in an attempt to

conceal the falsity of information provided to Canaccord by VBF, see Br. at 7, 20, instead

providing speculative assertions that Canaccord knew Mr. Wulf was lying in one instance, and

responding to the rest of Mr. Wulf’s lies to Canaccord by suggesting that “there is no honor among

thieves.” See Opp. at 24.21 This flippant response misses the mark: the lies identified by Canaccord



20
   VBF does not mention or defend Summary Chart items 1-2, 23-24, 27-30, 32-36, 38-42, 45-46,
48-56, 58-65, in apparent recognition that those items do not contain any actionable misstatements.
21
   VBF cites one case for this point: an out-of-circuit decision denying a motion to vacate a criminal
conviction following a jury trial. See Opp. at 24. In that extremely deferential (and entirely

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go to the heart of VBF’s conspiracy claim because they show that Mr. Wulf was attempting to

conceal from Canaccord the alleged falsity of the claimed misstatements. See Br. at 7, 20. VBF

also refuses to provide helpful detail regarding the specific time or place in which the supposed

“meeting of the minds” took place, Br. at 18-19, instead relying primarily on citations to several

paragraphs from the section of the Complaint entitled “The Founders Misrepresentation of

Density,” see Opp. at 23 (citing SAC ¶¶ 119-121 & Ex. 23). In short, the Complaint must be

dismissed because the alleged facts are “equally compatible” with a scenario in which Canaccord,

an international investment bank, would not and did not put its reputation and business on the line

by agreeing to engage in fraud for a small fish-farming business in Iowa. Br. at 19.

       Fourth, perhaps realizing that its fraud-related allegations are fatally deficient, VBF claims

for the first time that Canaccord also participated in a conspiracy “based on the Founders’ breaches

of fiduciary duty,” relating to their supposed “waste of VBF assets.” Opp. at 18. It asserts that this

conspiracy does not sound in fraud because it did not involve “fraudulent misrepresentations,

nondisclosures and/or concealments made to VBF.” Opp. at 18. That is simply not the conspiracy

described in the Complaint. (See SAC ¶ 359 (defining the “Founders-Canaccord Conspiracy” as

an agreement to “secur[e] investments based on false data and/or misrepresentations while

concealing the same from VBF” (emphasis added).) This Court should reject VBF’s attempt to

improperly amend its Complaint through its Opposition. See Glass Design, Inc. v. Owens-

Brockway Glass Container, Inc., 2013 WL 12091106, at *2 (W.D. Tex. Jan. 7, 2013).22



different) procedural posture, the court found that one witness’s testimony was not “patently
incredible” simply because he testified that he occasionally lied to his co-conspirators. United
States v. Gohari, 227 F. Supp. 3d 313, 316 (S.D.N.Y. 2017). The present case is entirely different:
Mr. Wulf’s lies to Canaccord fundamentally undermine VBF’s theory and VBF puts them forward
in its own Complaint as a basis for finding a conspiracy.
22
   See also Davis v. Davis, 1998 WL 51366, at *2 n.3 (N.D. Tex. Jan. 21, 1998).

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        Regardless, VBF never explains how Canaccord assisted with these supposed breaches of

fiduciary duty. See supra at 9-13; Br. at 17-23. Instead, VBF casually cites 33 paragraphs in the

Complaint relating to the Founders’ alleged waste, see Opp. at 18 (citing SAC ¶¶ 25-53, 171-175),

none of which mention Canaccord or a Canaccord representative.23 This claim must be dismissed.

        Aiding and Abetting Conspiracy (Count XXI): VBF has effectively abandoned this

claim. Under the caption “AIDING AND ABETTING CONSPIRACY – CANACCORD,” the

Complaint claims that “[a]s a direct and proximate result of Canaccord’s aiding and abetting of

the Founders’ Conspiracy, VBF suffered compensatory damages.” (See SAC ¶ 368.) VBF now

concedes that the Fifth Circuit does “not recognize an aiding and abetting cause of action under

Texas law.” Opp. at 26. That concession is dispositive and Count XXI should be dismissed.

        Confronted with this legal reality, VBF attempts to fashion an entirely new cause of action

for the first time in its Opposition. It claims that, although “Count XXI is titled as a claim for

‘aiding and abetting conspiracy,’” it is not actually a claim for aiding and abetting conspiracy—

indeed, it is not a claim for aiding and abetting at all. Rather, it is a claim for “knowing participation

of a breach of fiduciary duty.” Opp. at 27. This is another flagrant attempt by VBF to improperly

amend its Complaint through its Opposition that should be rejected by this Court.

        Regardless, VBF never explains how Canaccord “participated” in the Founders’ supposed

breach of fiduciary duties. VBF claims that the Founders mismanaged and misused VBF funds,

but never links Canaccord to any of that conduct.24 See Opp. at 27-28; supra at 12-14. VBF also



23
   VBF generally states that Canaccord concealed the Founders’ alleged misconduct from VBF.
But VBF also asserts that Rule 9(b) does not apply to this claim, in part, because it does not involve
“concealments to VBF.” Opp. at 18. VBF cannot have it both ways. Regardless, VBF does not
identify a single person at VBF that was misled by Canaccord about the Founders’ alleged waste.
24
   The only concrete example of waste cited by VBF in its Opposition is the Founders’ alleged
purchase of “a building and underlying property unnecessary to VBF’s business.” Opp. at 27-28.

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states, without any detail or support, that Canaccord helped “conceal” the Founders’ misconduct

from VBF, but never identifies a single person at VBF that was misled. Undaunted, VBF falls back

to asserting that “[t]o the extent Count XXI is subject to Rule 9(b), it is based on the same conduct

adequately set forth related to VBF’s claim for Conspiracy (Count XX).” Opp. at 27. That

perfunctory statement reinforces that VBF’s two claims are redundant and that this new concocted

claim fails for the same reasons as VBF’s conspiracy claim. See supra at 9-14.

IV.    This Court Is An Improper Venue For This Action.

       VBF does not dispute that the forum selection clause in the Engagement Agreement is valid

and enforceable against VBF and covers the claims raised by VBF against Canaccord in the

Complaint. See Br. at 24-25; Opp. at 28-29.25 VBF only argues that this case cannot be dismissed

under Federal Rule of Civil Procedure 12(b)(3) based on a forum selection clause. Opp. at 28-29.

Canaccord, therefore, respectfully requests that this Court enforce the forum selection clause in

the Engagement Agreement by either dismissing this action under the doctrine of forum non

conveniens or transferring it to the Southern District of New York under 28 U.S.C. § 1404(a). See

Atl. Marine Constr. Co. v. U.S. Dist. Court for W. Dist. of Tex., 571 U.S. 49, 60 (2013).26

                                         CONCLUSION

       For the foregoing reasons, Canaccord respectfully submits that all claims against it should

be dismissed with prejudice.


But VBF does not allege that Canaccord was involved in that acquisition, made any
misrepresentations related to that acquisition, or even knew about that acquisition.
25
   While VBF claims that the Mutual Release, if valid, “extinguished the forum-selection clause
in the Engagement Agreement,” Opp. at 29 n.7, it overlooks that the forum selection clause is
located in the “indemnity provisions,” which survive the Mutual Release. See Opp. at 13; (Mutual
Release at APP0016).
26
   Parties do not waive forum non conveniens and motions under 28 U.S.C. 1404(a) by failing to
raise them in an initial responsive pleading. See Yavuz v. 61 MM, Ltd., 576 F.3d 1166, 1173 (10th
Cir. 2009); Moto Photo, Inc. v. K.J. Broadhurst Enters., Inc., 2003 WL 298799, at *5 (N.D. Tex.
Feb. 10, 2003).
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 Dated: January 24, 2020            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on January 24, 2020 a correct copy of the foregoing was electronically
filed and served on all parties of record via the Court’s CM/ECF system.

                                                     /s/ Anthony S. Fiotto
                                                     Anthony S. Fiotto
